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                             DEPARTMENT OF JUSTICE I OFFICE OF THE INSPECTOR GENERAL




                             PANDEMIC RESPONSE REPORT
                             2 0 co 0 86


                          JULY 2020 .



                             Remote Inspection of Federal. Correctional
                             Complex Lompoc




                               EVALUATION AND INSP ECT ION S D!V!S!O!'J




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                                                  INTRODUCTION
                                                    The CDC has noted that the confined nature of correction al
                                                    facilities, combined with their congregate environments,
                                                    "heighten[s] the potential for COVID-19 to spread once
                                                    introduced" into a facility. According to BOP data, as of
                                                   July 14, 2020, 8,642 inmates and 887 staff in BOP-managed
                                                   institutions and community-based facilities have tested
                                                   positive for COVID-19. 1 However, testing within most BOP
                                                   facilities has been limited. In those institutions where
        OIG COVID-19 Inspection Efforts            widespread inmate testing has been underta ken, including at
      In response to the coronavirus disease       one of the four facilities at the Federal Correctional Complex
      2019 (COVID-19) pandemic, the U.S.           (FCC) Lompoc in Santa Barbara County, California, the
      Department of Justice (Department,           percentage of inmates testing positive has been substantial.
    . DOJ) Office of the Inspector General
                                                   For example, at the one FCC Lompoc facility where all
      (DIG) initiated a series of remote
      inspections of Federal Bureau of            inmates were tested, the number of inmates testing positive
      Prisons (BOP) facilities, including BOP-    for COVID-19 exceeded 75 percent as of May 11. Separately,
     managed institutions, contract               as of early May, at least 53 of the 416 staff members at FCC
     institutions, arid Residential Reentry
                                                  Lompoc had been tested and approximately 60 percent
     Centers (RRC). In total, these facilities
     house approxi mately 160,000 federal         (32 of 53) of those individuals tested positive.
     inmates. The DIG inspections sought
    to determine whether these                      Between Apri l 23 and May 1, 2020, the OIG conducted a
    institutions were complying with
    guidance related to the-pandemi c,-
                                                    remote in spection of FCC Lompoc to understand how the
    including Centers for Disease Control           COVID-19 pandemic affected the complex and to assess the
    and Prevention (CDC) guidelines, DOJ            steps Lompoc officials took to prepare for, prevent, and
    policy and guida nce, and BOP policy.           manage COVID -19 transmission within its facilities (see
    While the OIG was unable to meet with
                                                   Appendix 1 for the scope and methodology of the
    staff or inmates as part of these
    remote inspections, the OIG issued a           inspection). As part of that effort, we considered whether
    survey to over 38,000 BOP employees,           Lompoc's policies and practices complied with BOP directives
    as well as staff of contract in stitu tions    implementing CDC guidance, as well as DOJ policy and
    and RRCs.                                     guidance. We conducted the inspection through telephone
    DOI COVID-19 Complaint                         interviews with FCC Lompoc and BOP official s, review of
    Whistleblower Rights and Protections          documents, assessment of inmate demographic data and
                                                  staff and inmate COVID-19 case data by the OIG's Office of
                                                  Data Analytics (ODA), analysis of FCC Lompoc-s pecific result s
                                                  from a BOP-wide employee survey regarding COVID-19
                                                  issues that the OIG conducted in late April, and consideration




1
    This estimate does not include inmates who have tested positive, recovered, and have si nce been released by the BOP.


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of complaints to the OIG Hotline and by an FCC Lompoc union official (see Appendix 2 for a
summary of survey results from FCC Lompoc).


Summary of Inspection Results
The findings of the OIG's remote inspection of FCC Lompoc are as follows:
   •     A preexisting shortage of medical staff at Lompoc was among the biggest challenges in
         mitigating COVID-19 transmission because of the burdens of screening inmates and staff
         members for COVID-19 symptoms while still providing routine medical care to the
         institution's approximately 2,700 inmates.
   •     An insufficient number of correctional staff members resulted in Lompoc officials delaying
         full implementation of staff movement restrictions until 15 days after the BOP directed
         institutions with COVI D-19 cases to further modify operations to maximize social distancing
         in facilities to help control the spread of infection.
   •     Lompoc's initial COVID-19 screening process was not fully effective .. We identified two staff
         members who came to work in late March after experiencing COVID-19 symptoms and whose
         symptoms were not detected in the screening process to preclude them from working.
   o    Lompoc staff did not seek to test or isolate an inmate who reported on March 22 that he
        began having COVID-1 9 like symptoms 2 days earlier and who was examined on 4 separate
        days between March 22 and 26. The local hospital tested the inmate for COVI D-1 9 on
        March 27, and his results came back positive on March 30.
   &    The lack of a permanent leadership team and the physical characteristics of Lompoc
        facilities contributed to deficiencies in Lompoc's response to COVID-19.
   •    The OIG's BOP-wide survey in late April 2020 reflected that Lompoc staff identified as
        immediate needs at that time more personal protective equipment for staff and hygiene
        supplies for inmates, additional staff to cover posts, and more space to quarantine
        inmates.
   •    The BOP's use of home confinement in response to the spread of COVID-19 at FCC Lompoc
        in April, as a mechanism to reduce either the at-risk inmate population or the overall prison
        population in order to assist with social distancing, was extremely limited. As of May 13,
        over 900 Lompoc inmates had contracted COVID-19 and we determined that only
        8 inmates had been transferred to home confinement in accordance with BOP guidance.


We describe these findings in greater detail, and other observations we made during our
inspection, in the Inspection Results section of this report.




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    COVID-19 at FCC Lompoc
    At the time of our inspection, FCC Lompoc housed approximately 2,700 medium, low, and
    minimum security male inmates in four separate facilities in Lompoc, California: a U.S.
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    complex, FCC Lompoc's population includes inmates with chronic care needs. 2 The institution had
    more than 400 BOP correctional staff who provided dai ly correctional services to inmates.


     FCC Lompoc learned of its first positive COVID-19 test result of a staff member on M.arch 27 and of
    its positive test of an inmate on March 30. The inmate had preexisting health issues and had been
    hospitalized since March 26. On May 4, FCC Lompoc expanded inmate COVID-19 testing to
    in clu de testing all of the FCl's 1,162 inmates. By May 11, the BOP reported that FCC Lomp oc had
    25 staff and 912 inmates with active COVID-19 and that 2 inmates had died from COVID-19. 3
    Below, we provide a snapshot of FCC Lomp oc's COVID-19 outbreak as of July 13.


        Inmate Populationa                        Active Inmate COVID-19 Cases Over Time, March 31-July 13, 2020b
                                                1000
                         2,587                                 May 4. 2020
                                                500           Lompoc starts
                                                              testing all FCI
          Active Inmate                                          inmates.
              Casesb

                                                                   Apr 14         . Apr 29            !\,lay 14        May29                 Jun 13             Jun 28 Jul 13
                               8             a As of June 14, 2020. Population totals may differ from BOP statistics due to categories
                                             of inmates (e.g., juveniles) excluded from the data received by the OIG.
         Inmate Deathsc
                                             b As of July 13, 2020. The BOP defines "active cases" as open and confirmed cases of

                                             COVID-19. Once someone has recovered or died, he or she is no longer considered an
                              4              active case.

                                            c   As of July 13, 2020. Deaths due to COVID-19.

                                            Data Source: BOP




2
  BOP officials assign each inmate a care level based on the inmate's individual medical needs. Care levels range from Care
Level 1 for the healthiest inmates to Care Leve l 4 for inmates with the most serious medical conditions. The BOP also
assigns each institution a care level from 1 to 4, based on the institution's level of medical staffing and resources. The goa l of
the care level system is to match inmate medical needs with institutions that can meet those needs. A Care Level 2
institution is capable of treating inm ates with conditions requ iring clin ical contact every 3 months.
3
   The BOP defines "active cases" as open and confirmed cases of COVID-19. Once someone has recovered or died, he or she
is no longer cons id ered an active case.


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DOJ Federal StafP                               Active Staff COVID-19 Cases Over Time,          March 31-Ju ly    13,   2020b
                                        30
                      416               20
•    ,   -   .   rr
Active ~tan Lases u
                      -       --   .h


                                        l~ J -
                          2                           Apr 14      Ap r 29     May 14        May29      Jun 13      Jun 28    Ju i 13

    Staff Deathsc                       • As of June 25, 2020.

                                        b As of July 13, 2020. Active cases are open and con firmed cases of COVID-19. Once

                          0             someo ne has recovered or died, he or she is no longer considered an active case.

                                        c   As of July 13, 2020. Death s due to COVID-19.

                                        Data Sources: BOP, National Finance Center

                                                  Total Confirmed Santa Barbara County COVID-19 Cases Over Time,
                                                                         March 31-July 13, 2020a
                                        4K
                                        3K
                                        2K

                                        lK

                                                      Ap r 14     Apr29       M ay 14       M ay 29   Jun 13       Jun 28    Jul 13
                                        • As of July 13, 2020. Total confirmed cases are cumu lative positive COVID-19 ca ses.

                                        Data Source: Johns Hopkins University Center for Systems Science and Engin eering




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                                         INSPECTION RE SUL TS

    Preexisting Staffing Shortages
 Lompoc's Health Services Administrator told the OIG that prior to the COVID-19 outbreak the
 institution's medical staffing was at only 62 percent. 4 We found that this preexisting shortage of
 medical staff may have negatively impacted-FCC Lompoc's ability to conduct screenings of inmates
 and staff members for COVID-19 symptoms, a time-consuming process that had to be performed
 on a regular schedule while also providing routine medical care to the institution's approximately
 2,700 inmates. Lompoc's Clinical Director stated that medical staffing has been the biggest
 challenge in addressing the institution's treatment demands and that COVI D-19 exacerbated
 Lompoc's existing rredical staff shortage, particularly in light of two paramedics and a physician
 who were on sick leave for significant periods of time. 5 As of April 30, the BOP had designated
 9 temporary duty (TOY) medical staff to FCC Lompoc and had increased the institution's medical
_staffing by approximately 38 percent (from about 24 to 33). 6

In addition to the shortage of medical staff, we found that a significant shortage in correctional
staff affected FCC Lompoc's response to the COVI D-19 outbreak, including its ability to promptly
implement staff movement restrictions, a measure that was designed to control potential
COVID-19 transmission. Based on information we learned from Lompoc officials and BOP policy,
described below, about the importance of limiting staff movement and the effect of staff
shortages in doing so, we believe that Lompoc staff shortages through early Apri l may have
increased the risk of COVID-19 transmission because the complex did not always have enough
staff to allow Correctional Officers to remain in one facility.



4 In response to the working draft of this report, the BOP stated that maintaining adequate levels of medical staff in BOP
institutions was an ongoing nationwide challenge. The OIG's 2016 BOP medical staffing challenges report detailed the
serious medical staffing issues facing the federal prison system, and the OIG included this staffing challenge in our recent
annual Top Mariage m ent and Performance Cha llenges report. See DOJ OIG, The Federal Bureau of Prisons' Medical Startin$
Challenges. Evaluation and Inspections Division (E&I) Report 16-02 (March 2016), www.oversight.gov/s ites/defau1Ufiles/oig-
reportsle1602.pdf, and DOJ OIG, Too Management and Performance Challenges Facing the Department of/ustice-2019
(October 2019), www.justice.gov/s ites/defau lt/files/reports/2019.pdf.
5
  On May 16, on behalf of Lompoc inmates, the American Civil Liberties Union filed a class action lawsu it in the U.S. District
Court for the Central District of California alleging that the BOP "failed to conduct timely testing, provide adequate [personal
protective equipment], or effectively isolate those who are infected and those who have had contact with the infected."
Among other cla ims, the lawsuit alleged that when an inmate with asthma reported symptoms consistent with COVID-19 he
was ignored for days and denied medical treatment until he went into respiratory shock and had to be put on a ventilator.
The lawsuit also stated that, "due to the burden on Lompoc's medical resources from COVID-19-related care," another
inmate was unable to get needed cancer treatment. See Yonnedi l Carror Torres, Vincent Reed, Felix Samuel Garcia, Andre
Brown, Shawn L. Fears v. Louis Milusn ic, in His Capacity as Warden of Lompoc, and Michael Carvajal, in His Capacity as
Director of the BOP, Case 2:20-cv-04450-CBM-PVC, May 16, 2020.
6
  As of July 13, the Western Regional Office, which is an admin istrative office providing oversight and support to facilities
located in the Western Region including FCC Lompoc, stated that it had approved 18 health services staff from other BOP
institutions to su pport Lompoc's medica l services.


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      On March 13, the BOP directed Wardens to immediately "implement modified operations to
      maximize social distancing in [BOP] facilities," to the extent practicable. 7 The BOP supplemented
     this guidance on March 31, which included an instruction to institutions with COVID-19 cases to
     limit staff "movement to the areas to which they were assigned, such as departments/posts,
     whenever feasible to help control the spread of infection." 8 The same day, the BOP Western
     Regional Office directed Lompoc to implement these measures and to "develop a plan to
     minimize, and if possible, eliminate staff movement between the USP, FCI and Camp." However, it
     was not until April 14 that the acting Complex Warden sent a memorandum to all FCC staff
     members stating that "compartmentalization of staff to limit working at different facilities ... will
     begin no later than Apr.ii 15," which was 15 days after the BOP had directed institutions to take
     such steps and mor;e than 2 weeks after Lompoc had identified its first COVID-19 cases. 9 Lompoc
     officials told us that they could not.fully implement the compartmentalization of staff until the
     arrival of-adequate TDY staff because the institution did not have enough staff to fill all mandatory
     correctional posts, both at FCC Lompoc and at the local hospitals where some Lompoc inmates
     were receiving care. 10

     In response to these staffing shortages, on March 31 the BOP began deploying TDY staff from
     other BOP institutions to FCC Lompoc to assist with inmate security, clinical care, administrative
    oversight, and facility modifications for a mobile hospital (see the text box below). As of April 30,
    the BOP had deployed 99 TDY correctional staff, increasing FCC Lompoc's nonmedical staffing
    complement by approximately 25 percent (from about 390 to 490). These additional staff
    members, upon their arrival, assisted Lompoc in managing its COVID-19 outbreak and allowed it
    to implement the BO P's guidance limiting staff movement. However, unless the BOP promptly




7
     See BOP, memorandum for All Chief Executive Officers, Coronavirus (COVID-19) Phase Two Action Plan, March 13, 2020, 3.

Social distancing, also called "physical distancing," means keeping at least 6 feet between yourself and other people and not
gathering in groups. In a correctional setting, the CDC recommends implementing a host of social distancing strategies to
increase the physical space between incarcerated people (ideally 6 feet between all individuals, regardless of the presence of
symptoms}, noting that not all strategies will be feasible in all facilities and strategies will need to be tailored to the individual
space in the facility and the needs of the population and staff. See CDC, "Interim Guidance on Management of Coronavirus
Disease 2019 (COVID-19) in Correctional and Detention Facilities," March 23, 2020, www.cdc.gov/ coronavirus/2019-
ncov/community/corredion-detention/guidance-correctional-detention.html (accessed Jt1ly 15, 2020).
8    See BOP, memorandum for All Chief Executive Officers, Coronavirus (COVID-19) Phase Eive Action Plan, March 31, 2020, 2.
9 In comparison, for example, FCC Tucson in Tucson, Arizona, an institution in the same BOP region as FCC Lompoc but

without staffing concerns or a COVID-19 outbreak in April, fully implemented its staff movement restrictions on April 5. See
DOJ OIG, Remote Inspection of Federal Correctional Complex Tucson, E&I Report 20-087 Uuly 2020).
10 In response to the working draft of this report, the Western Regional Office stated that, after it learned of the first Lompoc
staff member who tested positive for COVID-19, it discussed staff assignments with Lompoc officials and they collectively
made the decision to readjust the roster to stop relief post assignments that had Lompoc staff members working different
areas of the complex. Though the BOP deployed the first TDY staff m ember to Lompoc on March 31, BOP documentation
indicates that an additional 55 TDY staff members arrived at Lompoc between April 6 and April 14.


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 takes longer-term actions to address these issues,
 Lompoc will again face a shortage of medical and
 correctional staff when TOY staff return to their
 home institutions. 11


 COVID-19 Staff Screening Procedures
 On January 31, the BO P's Health Services Division
 issued a memorandum to all BOP institutions
 informing them of possible COVID-19 symptoms,
 including fever or chills, cough, shortness of breath,
 headaches, body or muscle aches, vomiting, and
 diarrhea. 12 On February 29, the BOP directed
 institutions to screen staff with potential COVID-19
 risk factors, including staff members who had been
 in close contact with individuals diagnosed with
 COVID-19 or staff who had traveled within the
 previous 14 days through or from locations identified
 by the CDC as increasing epidemiologic risk. 13


  On March 13, the BOP issued a further directive
  instructing institutions in areas with "sustained
 community transmission," which included Lompoc, to
·implement enhanced health screening of all staff. 14
 The memorandum provided that enhanced screening
 included "self-reporting and temperature checks."
 According to the BOP, initially all Lompoc staff were required to complete a form and submit to a
 temperature check. The BOP stated that subsequent screenings entailed a verbal screening in
 which screeners asked staff questions related to potential symptoms and performed a
 temperature check (see the photograph below). If a staff member had a fever or answered yes to
 any of the symptom questions, the staff member was required to complete a revised staff
 screening form.



11 As of May 1, FCC Lompoc record s indicate that 12 TDY staff, including 2 TDY medical staff, had returned to their home
institutions. In response to the formal draft of this report, the BOP stated that off-site medical staff have been performing
remote reviews oflompoc inmates' medical records to fill the gap caused by the departure ofTDY medical staff to allow
Lompoc's medical staff to focus on on-site medical matters.
12BOP, memorandum for All Clinical Directo rs, Health Services Administrat ors, Quality lmprovement'lnfection Preventi on
Coordinators, Guidance on 2019 Novel Coronavirus Infection for Screening and Management, January 31, 2020, 2.
13
  BOP, memorandum for All Clinical Di rectors, Health Services Administrators, Quality Improvement/Infection Prevention
Coordinators, Guidance Update for Coronavirus Disease 2019 (COVID-19), February 29, 2020, 2.
14
     BOP, memorandum for All Chief Executive Officers, March 13, 2020, 3.


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  We determined that while FCC Lompoc officials
  initiated COVID-19 screenings of all staff on
  March 16, in accordance with BOP policy, its initial
  screening process was not fully effective.
  Specificaiiy, we identified two staff members who
  came to work in late March after experiencing
  COVID-19 symptoms,' but their symptoms were not
  detected in the screening process. In one case the
  symptoms the staff member was experiencing
  were not included in the screening tool in place at
  Lompoc at the time, even though one of the staff
  member's symptoms was listed in the BOP's
 January guidance. As a result, the staff member
 was allowed to work at the institution despite
 experiencing those symptoms. 15 In the other case,
 the staff member was experiencing one of the
 symptoms that was included in the screening tool
 but the staff member did not report it because, he
 told us, he did riot think it was COVID-19 related. 16
 This staff member worked at Lompoc for 7 days
 after experiencing his first COVID-19 symptom and
 before he tested positive for COVID-19 in early                      FCC Lompoc COVID-19 Staff Screening Center

 April. 17                                                            Source:   BOP, with OIG enharn;ement


 In addition, numerous Lompoc staff responding to our survey raised concerns about-the
 effectiveness of staff screenings. Several Lompoc staff reported that nonmedical staff were
 conducting at least some of these screenings and that the institution was not always examining

 15
       The BO P's Infection Prevention and Control Coordinator told us that the staff member had experienced mild COVID-19
   like symptoms, such as fatig_ue and mild headaches, over the previous days before developing a fever and being tested for
   COVID-19 on March 26, one day after he last worked. The screening tool in place at the time included fever, cough, and
  shortness of breath and did not include other possible COVID-19 symptoms, such as headaches and diarrhea, identified in
  the January BOP guidance. The BOP stated in response to the formal draft of this report that this staff member did not
  experience any COVID-19 symptoms while working at the institution and developed fever, cough, and a sore throat, and was
. tested for COVID-19 on March 26. The testimonial evidence we obtained during our inspection indicated that there was at
  least 1 day that this staff member was symptomatic while working at Lompoc.
16 The BOP staff member to ld the OIG that, while he experienced the onset of diarrhea on March 23 and a dry cough on
March 26, he cleared the BO P's screening procedures because he did not have a fever and did not report to.screeners his
cough, which Lompoc staff were screening for at the time. This staff member told us that, when he returned to FCC Lompoc
after 2 weeks, the institution was conducting a more in-depth screening for staff symptoms and was denying entry for staff
members when they reported symptoms other than fever.
17 In response to the working draft of this report, the BOP stated that it interviewed t his staff member on April 4, after
learning of his positive test result, and that was the time the BOP first learned of his COVID-19 symptoms. The BOP reported
that Lompoc screened t his staff member on each schedu led workday using the nat ion ally approved staff member screening
form.


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 staff for COVID-19 symptoms other than fever. Lompoc officials confirmed the use of both
 medical. and nonmedical staff for COVID-19 screenings, after training non medical staff to do so,
 but asserted that the institution had always screened staff for COVID-19 symptoms other than
 fever. We believe thatthe limitations of the BO P's staff screening procecures in March, coupled
 with Lompoc staff wh9 did not report all COViD-19 symptons to screening staff, may have
 contributed to the COVID-19 outbreak across FCC Lompoc.


 COVID-19 Testing
 We found that testing of inmates and staff at FCC Lompoc was limited in late March, when the
 institution's COVID-19 outbreak began. On March 13, the BOP issued guidance to institutions
 regarding the screening of staff and inmates and testing of inmates. 18 Pursuant to the BO P's
 guidance, enhanced health screening of staff was to be implemented in areas with "sustained
 community transmission," as determined by the CDC, and at medical referral centers. The
 memorandum did not address staff testing. For inmates, the guidance provided that symptomatic
 inmates with exposure risk factors for COVID-19 were to be "isolated and tested" consistent with
 local health authority protocols. 19


 Inmate Testing
We found that FCC Lompoc did not seek to test an inmate who, according to Lompoc medical
records, informed staff on March 22 that he had begun to experience several different physical
symptoms, including nausea, vomiting, and reported general malaise and a dry cough over the
prior 2 days. Both vomiting and cough were known symptoms of COVID-19 at that time.
According to this inmate's medical records, between March 22 and 26 Lompoc medical staff
examined this inmate on four separate days before he was admitted to the local hospital, and that
the inmate experienced fatigue, fever, cough, and chills before he was admitted to the hospital on
March 26. Lompoc medical notes indicate that, because the inmate had not recently left the
institution and had not been in contact with other known COVID-19 cases at the time, medical
staff did not suspect th.at he had contracted the virus. 20 The inmate also had several preexisting


18   BOP, memorandum for All Chief Executive Officers, March 13, 2020, 3.
19 Isolation is used to separate people who (1) are infected with the virus (those who are sick with COVID-19 and those with
no symptoms); (2) are awaiting test results; or (3) have COVID-19 symptoms from people who are not infected. In a
correctional setting, the CDC recommends using the term "medical isolation" to distinguish it from punitive action. See CDC,
"Interim Guidance,"
20 In response to the working draft of this report, the BOP provided an additional explanation about its process to diagnose
and treat this inmate. The BOP stated that Lompoc staff considered COVID-19 for this inmate but determined that this
diagnosis was unlikely because there were few COVID-19 cases in the local community, the inmate was afebrile and
othervvise had an atypical COVID- 19 presentation, and because the inmate denied any contact \AJith anyone diagnosed vvith
COVID-19 in the last 14 days. According to the BOP, this evaluation was consistent with the community standard being used
at the time to consider patierits for COVID-19. The BOP further stated that the fact that the inmate was seen 4 times in
5 days reflects appropriate ongoing monitoring of the inmate's illness. Finally, on March 26, when his condition was
recognized as worsening, the BOP admitted the inmate to the loca l hospital where much of the focus was on the patient's
significant gastrointestinal symptoms as well.


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   health issues. Further, according to the BOP's Infection Prevention and Control Coordinator, the
   hospital did not test the inmate for COVID-19 until March 27 because hospital staff initially
   suspected that the inmate had an infected gallbladder. On March 30, the inmate was confirmed
   to have COVID-19: Based on the BOP already having identified Lompoc as residing in an area of
   sustained community transmission, which resuited in the institution implementing enhanced
   screening protocols for staff by March 16, we believe that Lompoc should have taken greater
   precautions to isolate an inmate with an indeterminate illness that could have been related to
 · COVID-19. Keeping this inmate in general population for several days increased the risk of
   COVID-19 transmission to institution staff and other inmates. 21


     Lompoc officials told us that on March 27 institution medical staff started testing inmates for
     COVID-19 if they exhibited COVID-19 symptoms. According to BOP data, FCC Lompoc had tested
     121 inmates for COVID-19 as of April 29. 22


 On April 24, the BOP announced that it would expand testing to asymptomatic inmates, initially at
 institutions such as Lompoc with known COVID-19 cases. 23 Lompoc officials reported that the
 institution started testing for all 1,162 FCI inmates on May 4 through a contracted third party. By
 May 11, at least 891 FCI inmates had tested positive for COVID-19. Subsequently, Lompoc officials
 indicated to the OIG that the institution would not continue testing of all inmates because the
 outbreak at the USP and camps had subsided and universal testing was no longer warranted,
 although "targeted testing in specific units that have an active case" might be conducted on an
 as-needed basis.


 Staff Testing
  A BOP official told us that at the onset of the COVID-19 outbreak some staff members faced
. challenges obtaining t_esting from their healthcare providers. 24 The official said that BOP resolved
  this issue on April 10 by working with the Santa Barbara County Public Health Department, which
  agreed to test FCC Lompoc staff members who could not otherwise be tested. Lompoc
  documentation showed that the Executive Staff sent emails to all staff informing them they could
  be tested at the Lompoc Health Care Center, a county facility, between 11 a.m. and 12 p.m. on
 certain days. At the time of our inspection in early May, at least 53 of the 416 staff members at


21 News media reporting indicates that the first signs of community transmission in Santa Barbara County, California , where
FCC Lompoc is located, were already evident as of March 15. Roselyn Romero, "First COVID-19 Case Reported in Santa
Barbara County." KSBV6 News, March 15, 2020, www.ksby.com/news/coronavirus/first-COVID-19-case-reported-in-santa-
barbara-county (accessed July 15, 2020).
22   As of July 15, the BOP reported that 1,007 Lompoc inmates had tested positive for COVID-19, 843 inmates had tested
negative, and 102 inmates had COVID-19 tests pending.
23For more information, see BOP, "BOP Expa nds COVID-19 Testing." April 24, 2020, www.bop.gov/resources/news/
20200424_expanded_testing.jsp (accessed July 15, 2020).
24
   Lompoc officials reported to t he 0/G that they did not know why community hea lthcare providers denied COVID-19
testing to the staff members.


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  FCC Lompoc had been tested and approximately 60 percent (32 of 53) of those individuals had
  tested positive for the virus.


  Personal Protective Equipment and Cloth Face Coverings
 We found that FCC Lompoc officials complied with initial and subsequent BOP directives
 implementing the CDC's guidance regarding the use offace coverings in correctional settings.
 However, by April 6, when the BOP directed the distribution of face coverings to all staff and
 inmates, Lompoc was experiencing both staff and inmate cases and, as subsequent data reflects,
 transmission ~nd spread of the virus within the institution was already occurring. 25

  Between January 31 and April 6, the BOP issued seven policy directives intended to help its
  institutions implement evolving CDC guidance concerning the use of personal protective
  equipment (PPE) and fate coverings in various scenarios. 26 Most notably, the BO P's March 18
  directive required all BOP employees performing staff screenings to "wear appropriate personal
  protective equipment," defined as a "surgical mask, face shield/goggles, gloves and a gown." 27 On
  April 6, in response to revised CDC guidance on April 3 advising that face coverings be worn in
. public settings where social distancing measures are difficult to maintain, the BOP directed
  institutions to "[issue] surgical masks as an interim measure to immediately implement CDC
  guidance, given the close contact environment of correctional institutions." 28 We found that FCC
  Lompoc complied with this directive and first issued surgical masks to all staff and inmates on
  April 6. 29 However, this was 11 days after the hospitalization of a Lompoc inmate on March 26




 25
      BOP, memorandum for All Chief Executive Officers, Coronavirus (COVID-19) Update-Use of Face Masks, April 6, 2020.
 26  The CDC defines PPE as "a variety of barriers used alone or in combination to protect mucous membranes, skin, and
· clothing from contact with infectiou s agents." Depending on the situation, PPE may include gloves, surgical masks, N95
  respirators, goggles, face shields, and gowns. Cloth face coverings are intended to keep the wearer from spreading
  respiratory secretions when talking, sneezing, or coughing. The CDC does not consider cloth face coverings to be PPE.
 27
    BOP, memorandum for All Chief Executive Officers, Coronavirus (COVID-19) Phase Two Action Plan Update Number 1,
 March 18, 2020, 3. Initi ally, on March 13, t he BOP issued guidance that employe'es screening staff for COVID-19 wear an N95
 respirator. For more information, see BOP, memorandum for All Chief Executive Officers, March 13, 2020, 3.
 28BOP, memorandum for All Chief Executive Officers, April 6, 2020, 1-2. The guidance indicated tha t the BOP would be
distributing to institutions cloth face coverings, which would replace the use of surgical masks at that time. For more
information, see CDC, "Recommendation Regarding t he Use of Cloth Face Coverings. Especia lly in Areas of Significant
Community-Based Transmission," April 3, 2020, www.cdc.gov/coronavirus/ 2019-ncov/prevent-getting-sick/cloth-face-
cover.html (accessed July 15, 2020).
29    Acting Complex Warde n, memoranda for FCC Lompoc Staff and Inmate Population, Face Masks, April 6, 2020, 1.

On April 13, the BOP issued nationwide gu idance directing that "all staff and inmates will be issued and strongly encouraged
to wear an appropriate face covering when in public areas when socia l distancing can not be achieved." BOP, memorandum
for All Ch ief Executive Officers, Coronavirus (COVID-19) Phase Six Action Plan, April 13, 2020, 4.


                                                               23
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     with COVID-19 symptoms and 10 days after the first institution staff member tested positive for
     the virus on March 27. 30

  We asked BOP and Lompoc officials whether there were additional, proactive steps Lompoc
  officials could have taken regarding PPE to mitigate the emerging threat. BOP and Lompoc
  officials told us that Lompoc followed CDC recommendations regarding the use of PPE and that
  until April 3, when the CDC reported that asymptomatic individuals could spread the virus, there
 were no expert recommendations to distribute face coverings to all staff and inmates. Further,
 the BOP stated that proactively distributing face masks, which was not a proven, evidence-based
 strategy at a time when PPE resources were limited, would not have been appropriate. While BOP
 officials told us that issuing face masks would have been inappropriate, they also acknowledged
 that in hindsight inmates and staff not wearing face masks at this time probably contributed
 greatly to COVID-19 spread ac·ross FCC Lompoc.


  In addition, although Lompoc officia!s maintained that the institution had sufficient levels of PPE at
  the time of our insp·ection, 70 percent (76 of 109) of Lompoc staff who responded to our survey
  indicated that mor:e PPE for staff was an immediate need and 46 percent (50 of 109) of Lompoc
  staff who responded to our survey reported that inmates needed more PPE as well. Most
  commonly, Lompoc staff reported that the institution needed to provide staff with additional N95
  respirators to adequately safeguard them from contracting the virus, particularly considering the
 widespread outbreak across the institution. Further, at the time of our inspection, a Lompoc staff
 member told us that not all correctional staff had been provided with eye protection, which had
 been a required item of,PPE only for staff performing COVID-19 screenings or working in
 quarantine and medical isolation units. 31 Another Lompoc staff member responded to our survey
 that staff had been instructed to return and share eye protection with other staff, which the CDC _




30
   According to FCC Lompoc officials, institution staff members received cloth face coverings on April 1O and inmates
received cloth face coverings by April 14. However, a local union official expressed to the OIG concern about the quality
of the cloth face coverings, comparing the material to burlap and stating that N95 respirators prevent 95 percent of
containments whereas he believed that staff members' cloth face coverings were much less effective. Several Lompoc
staff responding to the OIG's survey echoed these concerns and raised doubts that the cloth face coverings would
ad.equately safeguard staff from contracting the virus.
31 In response to the working draft of this report, BOP and Lompoc officials stated that there was never a shortage of
PPE at Lompoc and that staff members who had a clinical need for N95 respirators were provided with them in
accordance with CDC guidelines. The BOP also noted that PPE was recommended only for personnel conducting staff
screenings and staff members working in the quarantine and isolation units.

Quarantine is used to keep someone who might have been exposed to COVID-19 away from others for 14 days to help
prevent the spread of disease and determine whether the person develops symptoms. In a correctional setting, the CDC
recommends, ideally, quarantining individuals in a single cell with solid walls and a solid door that closes. If symptoms
develop during the 14-day period, the person should be placed in medical isolation and evaluated for COVID-19. See CDC,
"Interim Guidance."


                                                            24
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   has warned. can increase the risk for transmission if the eye protection is not properly
   disinfected. 32


   Lack of Permanent Leadership and Communications Protocols
   We found that one additional factor that may have contributed to the challenges facing FCC
   Lompoc in responding to the spread of COVID-19 was that the institution had several key
   leadership vacancies across the complex and did not have communications protocols in place to
  fully inform staff about the spread of the virus. A Lieutenant, who had served as an acting Deputy
   Captain during the outbreak, told the OIG that having permanent, "seasoned leadership" at the
  onset of the outbreak would have benefited the complex's COVID-19 response. Further, a Lompoc
  staff member commented through the OIG's survey that USP Lompoc "had an acting Warden and
  no Captains, which likely led to [a] lack of decision making and action" and that "it was not until the
  [acting] Complex Warden from Tucson arrived [on March 31 Jthat staff began to receive
  information and guidance." We observed that FCC Lompoc had been led by three different
  officials serving as the acting Complex Warden since the onset of the institution's outbreak and
  more than half (9 of 14) of the Lompoc management officials we interviewed were TDY staff or
  institution staff who had operated in an acting capacity since March .33 In response to the working
  draft of this report, the BOP stated that an acting Warden was selected to oversee operations
  when the Complex Warden position became vacant on January 19, 2020. Further, the BOP stated
  that there was no lack of leadership because each official who had served as the acting complex
  Warden until the position was filled on June 7 had over 20 years of correctional experience.

  In addition, a union official reported to us that during the early stages of the outbreak the
  institution did not inform staff members that they had been in close contact with a colleague who
  had tested positive for COVID-19. This failure to inform staff members of their contact with an
  infected person meant that BOP staff who had possibly been exposed to the virus-and therefore
  could themselves have been infected-were potentially exposing colleagues, inmates, and family
  members. The union official to.Id us that the BOP has since addressed this issue and now informs
  staff members of potential exposure in a way that ensures employees' medical privacy. 34 In
  response to the working draft, Lompoc officials reported that they too k significant measures to
  protect the safety and security of all staff, inmates, and members of the public during the


  32   CDC, "Eye Safety." July 29, 2013, www.cdc.gov/niosh/topics/eye/eye-infectious.html (accessed July 15, 2020).

  In response to the working draft of this report, Lompoc officials stated that they instructed staff working in the
  quarantine and isolation units who used goggles and faces shields on how to properly san iti ze this equipment and set
  up a sanitation stat ion at entry points to these units.

• 33In April 2020, TOY staff assumed the Complex Warden, FCI Warden, FCI Deputy Captain, Operations Lieutenant, and
 two Associate Warden positions. Th e Deputy Case Management Coordinator position had been assumed by institution
 staff operating in an acting capacity. On June 7, a new permanent Complex Warden was designated to FCC Lompoc.
 34 To comply with Occupational Safety and Health Adm inistration communication requirements, on April 8 the BOP
 provided all institutions with a "COVID -19 Notice to Staff' template letter for informing staff who may have been
 exposed to an individual who had tested positive for COVID-19.


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      COVID-19 pandemic. Specifically, the BOP stated that the leadership team provided information
      on a regular basis to all staff, department heads, and specific subject matter experts, in addition to
      continuous updates and guidance beginning with the BOP's Phase 1 guidance dated January 31,
      2020. Though Lompoc officials provided many examples of guidance sent to Lompoc staff prior to
      the institution's COViD-19 outbreak in late March, we did not receive documentation of guidance
      addressing the need to inform staff members who had possibly been exposed to the virus
      because of their contact with an infected person .


      Conditions of Confinement, Visitation, Commissary, and Hygiene Products
    We found that FCC Lompoc took several steps to modify institutional operations to increase social
    distancing in accordance with guidance issued by the BOP in March 2020. Specifica lly, on
    March 13 the institution suspended inmate social and legal visits in accordance with BOP-wide
 · guidance. 35 Then, on April 1, FCC Lompoc advised inmates that the institution was restricting the
   movement of all inmates and was implementing a "Stay in Place" restriction to stop the spread of
   the virus. 36 During this time, inmates were allowed out of their cells only in sma ll groups at
   designated times, on a limited basis, to access medical care, showers, phones, and email
   terminals.


   By Apri l 20, FCC Lompoc escalated its restrictions through a lockdown (for hea lth-related purposes
  rather than security-related reasons) across all Lompoc facilities. This escalation suspended some
  inmates' access to showers, telephones, computer terminals, and commissary. 37 Lompoc officials
  told us that they implemented these additional restrictions because they believed them to be
  necessary to control the spread of COVID-19. The officia ls told us that they initially allowed
  inmates to shower in smaller groups; but, because COVID-19 cases continued to rise across the
  complex, they determined that more aggressive mitigation was necessary.


  35 On March 13, the BOP directed institutions to suspend all social and legal visits for 30 days, which was subsequently
 extended through at least July 31. The BOP guidance permitted institutions to accommodate case-by-case requests for legal
 visits . Further, the guidance stated that institutions should offer video conferencing as an alternative to in-person legal visits.
 BOP, memorandum for All Chief Executive Officers, March 13, 2020, 1-2.
 36 The BOP enacted a "14-'tlay nationwide action to minimize movement to decrease the spread" of COVID-19 in its Phase
 Five Action Plan on April 1 and extended this action in its Phase Six and Phase Seven Action Plans. Some institutions chose
 to describe this action as a "Shelter in Place," "Stay in Place," or "Stay in Shelter." In announcing this action, the BOP noted
 that its "actions are based on health concerns, not inmate destructive behavior." See Appendix 3 for a timeline of the BO P's
 guidance to its institutions .

. FCC Lompoc, Talking Points Town Hall, Advisory to the Inmate Popu lation/COVID-19, April 1, 2020, 1.
 37  During the lockdown, approximately 1,000 USP inmates did not have access to showers. On May 8, Lompoc officials
  reported that the USP had relaxed its restrictions and initiated-"very sma!I, slow, controlled movements to a!!O\"✓ inmates
 access to showers, emails, and telephones with social distancing and disinfecting protocols being followed ." Though officials
 first indicated that the FCI lockdown had been extended to at least May 18, Lompoc reported to the OIG in June that FCI
 Lompoc lifted its enhanced mitigation measures in May after it had tested all FCI inmates. As of June 24, all FCC Lompoc
 facilities had implemented inmate movement restrictions consistent with Phase Seven of the BOP's national action plan (see
 Appendi x 3).


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                                   ,
  In addition, the acting FCI Warden stated that the FCI suspended its commissary operation during
  the lockdown because the design of the institution was not conducive to social distancing.38
  Further, inm ates we re prohibit ed from accessing the law library to work on their legal cases .
  Correctional officials told us that inmates were still permitted to communicate with their legal
  representatives through special legal maii and that staff members could authorize legal phone
  calls for urgent matters. Lastly, during the lockdown, inmates were confined to their cells for
  24 hours a day without recreation, which is more restrictive than conventional Special Housing
  Unit (SHU) placement- The OIG has found that such restrictions can raise significant mental health
  issues, and we asked Lompoc officials whether they took any steps to mitigate those potential
  concerns. 39 BOP officials responded that, consistent with standard BOP restrictive housing unit
  practices, Staff Psychologists conducted frequent rounds in all housing units and provided
. individual counseling to inmates on an as-needed basis. Additionally, psychology staff
  coordinated with other institution staff, such as Health Services staff, to ensure that inmates'
  mental health concerns were appropriately addressed and correctional staff provided inmates
  with self-help programming, reading materials, and other in-cell activities.

We were told that, to address inmates' hygienic needs, staff members provided inmates with
multiple hygiene kits that contained a razor, a toothbrush, toothpaste, and soap bars so inmates
could wash themselv~s at the sink in their cell. Despite these kits, 36 percent (39 of 109) of
Lompoc staff who responded to our survey r~ported that more personal hygiene supplies,
including soap and hand sanitizers, was an immediate need for inmates. With regard to hygienic
supplies for staff, a Lompoc manager told us that the institution maintained adequate supplies
and indicated that there were hand sanitizer stations for staff on every unit and in other locations
throughout the institution. Further, he indicated that staff restrooms were well stocked with soap
and paper tow(;ls and that staff could obtain new hand sanitizer bottles each day when they were
screened. However, 55 percent (60 of 109) of Lompoc staff who responded to our survey reported
that more hygiene supplies for staff was an immediate need, although only 1 of the survey
respondents provided specific comments about the nature of their hygiene concerns .

We observed that, despite FCC Lompoc's efforts, its infrastructure may have lim ited its ability to
implement the CDC's :social distancing guidelines. FCC Lompoc has open bar cells (as opposed to
solid doors), and inmates congregate in common areas, which can facilitate rapid community
spread . Infrastructure issues are particularly concerning at the FCI, where inmates are hou sed
open, dormitory style, with bunk beds 3 feet apart from each other (see the photograph below). 40


38   The BOP did not direct in stitutions to su spend commissary privil eges.
39  The OIG's 2017 restrictive housing re port identif ied re cent studi es that suggested that t he frequ ency, duration, and
conditi ons of confinement of restrictive housing, eve n fo r short periods of time, can cause psychol ogical harm and signifi cant
adverse effects on inmates' mental healt h. For more information, see DOJ OIG, The Federal Bureau of Prisons' Use of
Restrictive Housing for Inmates with Mental Illness, E&I Report 17-05 Uuly 201 7), www.oig.justice.govlsites/defaultl
files/reportsle1705.pdf.
40The CDC advised t hat peop le stay at least 6 feet apart. For m ore informat ion, see CDC, "Social Di stancin g,"
www.cdc.gov1coronavi rus(2019-n cov/p reve nt-getting-sick/social-dista ncing. ht ml (access ed July 15, 2020).


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       Based on our review of BOP
     . documents, FCC Lompoc
       Executive Staff reported the
       infrastructure concerns to the
                                                      -  ··- -_·-·--r--""--:-
       Office of the Attorney General -
       on April 16. FCC Lompoc
      subsequently alleviateu some
                                               ~:--=--~,~
                                                        . ~ --          4~
      of the issues by setting up
      cots for inmates in the FCl's
      gym and a closed UNICOR
      factory. 41 Further, in
      response to the formal draft
      of this report, the BOP stated
     that Lompoc officials added a
     total of 252 beds in non-
     housing locations such as the      FCI Lompoc Housing Unit
     chapel, the visiting room,
                                        Source: BOP, with OIG enhancement
     tents, and in a Residential
     Drug Abuse Program-space, in
     addition to the locations already mentioned. Still, social distancing issues remained at the FCI and,
     by May 11, the BOP reported that about 77 percent (891 of 1,162) of all FCI inmates had tested
     positive for COVID-19 and were considered active cases.


 Quarantine Procedures
 We found that FCC Lompoc complied with BOP directives by taking steps to quarantine inmates to
 mitigate COVID-19 transmission. 42 According to Lompoc officials, the institution first established a
 quarantine and isolation unit on a range in the USP's SHU to house the last transfer of incoming
 inmates. Correctional officials indicated that the quarantine unit was then relocated to an unused
 USP Lompoc housing unit (H-Unit) on March 27, while the isolation unit remained on the SHU
 range at that time. On April 2, Lompoc officials relocated the isolation unit to the H-Unit to
accommodate the rise in COVID-19 cases across the complex and the quarantine unit was moved
to the USP's M-Unit (see the photograph below). At the time of our inspection, the BO P's Infection
Prevention and Control Coordinator told us that institution staff had placed the last transfer of
incoming inmates into quarantine in the USP Lompoc's M-Unit: FCC Lompoc Executive Staff stated
that the only new inmates on the compound in April were 18 voluntary surrenders to the
institution (which FCC Lompoc cannot control), all of whom were designated to the M-Unit for




41
   Federal Prison Industries, called UNICOR, is a government corporation within the BOP that provides emp loyment to
inmates at fe deral prisons throughout the United States.
42   BOP, memoranda for All Chief Executive Officers, March 13, 2020, 3, and April 13, 2020, 3-4.


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 quarantine. 43 Consistent with Lompoc officials'
 statements, the OIG survey results indicate that
 t he institution followed a m inimum 2-week
 quarantine for incoming inmates and medical
 isolation for inmates exhibiting COVID-19
 symptoms. However, 50 percent (55 of 109) of
 Lompoc staff who responded to our survey
 reported that the institution needed additional
 space to successfully continue to quarantine
 inmates and only 31 percent (3-2 of 104) of
 Lompoc staff who respond ed to our survey
 indicated that inmates who had been in close
 contact with a symptomati c inmate were
 quarantined for 14 days.


 Use of Home Confinement and
 Compassionate Release Authorities
 In response to the COVID-19 pandemic, the
Attorney General authorized the BOP, consistent
with pandemic-related legislation enacted in late
March 2020, to reduce the federal prison
                                                       At the time of our inspection, FCC Lompoc used the
population by transferring inmates from prison to      H-Unit to medically isolate inmates suspected of
home confinement. 44 In an Ap ril 3 memorandum,        having contracted COVID-19 or those who had tested
the Attorney General also directed the BOP to          positive for the virus.
"immediately maximize appropriate transfers to         Source: BOP, with OIG enhancement
home confinement of all appropriate inmates" at
those prisons "where (OVID-19 is materially affecting operations." 45 The BOP assigned to its
Central Office the responsibility for developing guidance implementing the Attorney General's
directives and initially identifying inmates who would be considered for possible transfer to home
confinement.

Over the next 5 weeks, the BOP Cen t ral Office issued three guidance memoranda and sought to
assist institutions in identifying eligible inmates by providing them with rosters of inmates that the
Central Office determined might be eligible for transfer pursuant to the BOP's guidance. The
Central Office's initial policy guidance in early April was focused on transferring to home

43
  The term "voluntary surrender" refers to an inmate rep ortin g to a BOP in stitution of his or her ow n vol ition after a federa l
court orders the inmate t o do so, rather t han being transported til ere by iaw enfo rcem ent offi ciai s.
                             \
44 Home confinement, also kn own as home detenti on, is a custody opt ion w hereby inmat es serve a portion of their
sente nce at home while being monito red.
45
   William P. Barr, Atto rn ey Genera l, memorandum fo r Di rector of Burea u of Prisons, Increasi ng Use of Hom e Confin ement
at Inst itutions Most Affected by COVID-19, April 3, 2020, www.ju stice.gov/fi le/126666 1/ downl oa d (accessed July 15, 2020), 1.


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     confinement those inmates who faced the greatest ris ks from COVID-19 infection, includin g
     elderly inmates. In late April, the BOP began to expand its use of home confinement to cover
                                     I

     inmates other than those who were elderly or at high risk for serious illness due to COVID-19, as
     determined by CDC guidance. In addition, the BOP allowed institution Wardens to identify
     inmates otherwise ineligible fo r home confinement under Central Office guidance criteria and to
     seek approval from the Central Office to transfer those inmates to home confinement.

  During the period from April 4 to May 15, the BOP Central Office sent FCC Lompoc 9 rosters,
  identifying 509 inmates in total, who the Central Office determined were potentially eligible for
  transfer to home confinement. We found that Lompoc officials followed Central Office guidance
  that required Lompoc to review its inmates (including but not limited to those on the rosters), by
  examining each inmate's criminal history and risk of recidivism, conduct in prison, health
  conditions, and home release plan, to determine whether the inmate met the BOP criteria for
 transfer to home confinement. This review process, coupled with a 14-day prerelease quarantine
 period the BOP required to ensure that inmates placed into the community did not have
 COVID-19, resulted in 3 or more weeks between the time the Central Office identified an inmate
 for transfer consideration to the date the inmate was actually transferred to home confinement.
 As a result, we found that in April FCC Lompoc's ability to use home confinement in response to
 the spread of COVID-19, as a mechanism to reduce either the at-risk inmate population or the
 overall prison population and facilitate social distancing, was extremely limited. Indeed, as of
 May 13, over 900 Lompoc inmates had contracted COVID-19 and we determined that only
 8 inmates had been transferred to home confinement in accordance with the Coronavirus Aid,
 Relief, and Economic Security Act (CARES Act) authorities and BOP guidance.


 Attorney General and BOP Memoran da Regarding the Use of Home Confinemen t
                                 l
On March 26, the Attorney General directed the BOP to prioritize the use of home confinement as
a tool to combat the dangers that COVID-19 posed to "at-risk inmates who are non -violent and
pose minimal likelihood of recidivism." 46 At the time, the BOP had the authority to transfer an
inmate to home confinement for the final months of his or her sentence, subject to the following
stat utory limitations: (1) for any inmate, the shorter of 1O percent of the term of imprisonment or
6 months; (2) for an inmate age 60 or older, up to one-third of his or her sentence, if he or she met
certain additional criteria; and (3) for a term inally ill inmate, any period of time, if he or she met
certain additional criteria. 47 Th e Attorney General's memorandum identified a "non -exhaustive"



46William P. Ba rr, Attorn ey General, mem orandun:i for Di re ctor of Bureau of Prisons, Pri orit ization of Hom e Confin em ent as
Appropriate in Response t o COVID-1 9 Pand emic, March 26, 2020, www.j ustice.gov/file/1262731 / downl oa d (accessed July 15,
2020),
47 18 U.S. C. § 3624(c)(2) and 34 U.S.C. § 60541(g)(5)(A). Additionally, federal law allows the BOP Director to se ek court
approva l t o modify an inmate's se ntence of imp risonment fo r "extraordi nary and compelling rea sons," whi ch is commonly
referred t o as "co mpassio nate re lease" (18 U.S.C. § 3582(c)). As we describe below, fo ll owing the issuance of the Attorn ey
Gene ral's April 3 m emorand um th e BOP Di rector did not need to seek jud icial approva l und er§ 3582(c) if he determ ined t hat
an inmate should be tra nsferred t o home co nfi nement.


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 list of factors that the BOP should consider in determining whether to transfer an inmate to home
 confinement. Those factors included:

        ..   the age and vulnerability of the inmate to COVID-19, based on CDC guidelines;
        ..   the security level of the institution where the inmate was currently housed, with priority
             given to those in low and minimum security facilities;
        "    the inmate's discipl inary history, with inmates who engaged in violent or gang-related
             activity in prison, or who incurred a BOP violation during the prior 12 months, not
             receiving priority treatment;
        e    the inmate's Prisoner Assessment Tool Targeting Estimated Risk and Needs (PATTERN)
             score, with inrr,iates exceeding a minimum score not receiving priority treatment; 48
        ..   whether the inmate had a verifiable reentry plan "that will prevent recidivism and
             maximize public safety;" and
        •    the inmate's crime of conviction.


The memorandum further required an assessment by the BOP Medical Director, or designee, of
the inmate's risk factors for severe COVID-19 illness, risks of COVID-19 infection at the inmate's
prison facility, and the risks of COVID-19 infection atthe planned home confinement location.

The following day, on March 27, the President signed into law the CARES Act, which authorized the
BOP Director to lengthen the maximum amount of time that an inmate may be placed in home
confinement "if the Attorney General finds that emergency conditions will mate_rial_ly affect the
functioning of the [BOP]." 49 The following week, on April 3, the Attorney General issued a
memorandum, entitled "Increasing Use of Home Confinement at Institutions Most Affected by
COVID-19," which found, as provided for in the CARES Act, "that emergency conditions are
materially affecting the functioning of the [BOP]." 50 As a result of that finding, the BOP Director
was authorized by the CARES Act to increase the amount of time that inmates could be placed in
home confinement. The memorandum instructed the BOP to "immediately maximize appropriate
transfers to home confinement of all appropriate inmates" at those prisons "where COVID-19 is

48
    To assess inmates' recidivism risk, the BOP uses the PATTERN system, which the Department developed in respon se
to the FIRST STEP Act of 2018. The FIRST STEP Act directed the Department to complete its initial risk and needs
assessment for each federal inmate by January 15, 2020. Among other things, PATTERN calculated inmates' recidivism
risk using a point syste m that classifies inmates into either minimum, low, medium, or high risk categories based on:
(1) infraction conviction s during current incarceration, (2) number of programs completed, (3) work programming,
(4) drug treatment while incarcerated, (5) noncompliance with financial responsibility, (6) history of violence, (7) history
of escapes, (8) education score, (9) age at time of the assessment, (10) instant violent offense, (11) history of sex offense,
and (12) crimina l history score. For more information, see Office of the Attorney General, The First Step Act of 20 78:
Risk and Needs Assessment svstem-Update Uanuary 2020), www.nij.ojp.gov/sites/g/files/xyckuh 171 /files/media/
document/the-first-step-act-of-2018-risk-and-needs-assessment-system-updated.pdf (a ccessed July 15, 2020).
49 Pub. L. No. 116-136.
                                                      '

50   Barr, memorandum for Director of Bureau of Prisoris, April 3, 2020.
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     materially affecting operations." In assessing inmates for transfer to home confinement, the
     memorandum stated that the BOP should be "guided by the factors in my March 26
     Memorandum, understanding, though, that inmates with a suitable confinement plan will
     generally be appropriate candidates for home confinement rather than continued detention at
     institutions in which COVID-19 is materially affecting their operations."


      In response to the Attorney General's memoranda, the BOP issued three policy memoranda, on
     April 3, April 22, and May 8, 2020. The BOP's April 3 memorandum provided institutions with
     "sample rosters ... to aid in the identification of inmates who may be eligible for home confinement"
     and stated that eligible inmates "must be reviewed utilizing [the BOP's] Elderly Offender Home
     Confinement Program criteria and the discretionary factors listed in the [Attorney General's
     March 26 memorandum]." 51 As mentioned above, among the discretionary factors were an
     inmate's age and vulnerability to COVID-19, based on CDC guidelines, which include people 65
     years and older and people of all ages with underlying medical conditions. 52 The April 3
     memorandum also stated that inmates were required to have "maintained clear conduct for the
     past 12 months to be eligible." It further provided that pregnant inmates should be considered for
     placement in home confinement or an available community program.

 The BOP's April 22 memorandum expanded the number of inmates eligible for consideration for
 transfer to home confinement, as authorized by the Attorney General's April 3 finding pursuant to
 the CARES Act. 53 Specifically, the memorandum stated that the BOP was prioritizing for home
 confinement consideration those inmates who either (1) had served 50 percent or more for their
 sentence or (2) had 18 months or less remaining on their sentence and had served 25 percent or
 more. In assessing whether inmates who met the expanded prioritization criteria were candidates
for home confinement, the memorandum continued to apply the criteria from the Attorney
 General's March 26 memorandum. Additionally, the memorandum continued to provide that
pregnant inmates should be considered for placement in home confinement or an available
community program. Finally, the BOP's memorandum allowed a Warden to seek approval from
the BOP Central Office to transfer to home confinement an inmate who did not meet the
memorandum's criteria if the Warden determined that transfer was necessary "due to [COVID-19]
risk factors, or as a population management strategy during the pandemfc." We note, however,
that the April 22 memorandum did not specifically address the instruction in the Attorney

51 The criteria in the BO P's Elderly gffender Home Confinement Program generally mirror those found in § 603 of the FIRST
STEP Act, 34 U.S.C. § 60541 and require an inmate to, among other things, be at least 60 years old, have served at least two-
thirds of his or her prison sentence, and not have been convicted of a crime of violence or sex offerise.
52 CDC guidelines state that peop le w ith chronic lung disease, moderate to severe asthma, serious heart conditions, severe

obesity, diabetes, chronic kidney disease, and liver disease, particularly if not well contro lled, are at high risk for severe illness
from COVID-19. Th e guidelines also identify people who are immunocompromised as being at risk. The guidelines state
that many conditions can cause a person to be immunocompromised, including cancer treatment, smoking, bone marrow
or organ transplantation, immune deficiencies, poorly control led HIV or AIDS, and prolonged use of corticosteroids and
other immune weakening medications. CDC, ''People Who Are at Increased Risk for Seve re Illness," www.cdc.gov/
coronavirus/2019-ncov/need-extra-precautions/people-at-increased-risk.html (accessed July 15, 2020).
53   The BO P's April 22 memorandum rescinded its April 3 memorandum.


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 General's April 3 memorandum that the BOP "immediately maximize appropriate transfers to
 home confinement" at those institutions "where COVID-19 is materially affecting operations," and
 "that inmates with a suitable confinement plan will generally be appropriate candidates fo r home
 confinement rather than continued detention at institutions in which COVID-19 is materially
 affecting their oper·ations."


The BO P's third memorandum, issued May 8, was generally consistent with its April 22
memorandum, with one specific difference. 54 The May 8 memorandum permitted inmates to be
considered for transfer to home confinement despite having committed certain misconduct in
prison during the prior 12 months if, in the Warden's judgment, home confinemerit "does not
create an undue risk to the community." The May 8 memorandum, like the April 22
memorandum, did not specifically address the Attorney General's instruction that the BOP
"immediately maximize appropriate transfers to home confinement" at institutions most affected
by COVID-19, nor did it specify that inmates at such institutions "with a suitable confinement plan
will generally be appropriate candidates for home confinement rather than continued detention."


OIG Estimate of Lompoc Inmates Potentially Eligible for Home Confinement
Consideration Based on BOP Guidance arid Available Authorities
 In order to independently assess the number of FCC Lompoc inmates potentially eligible for
 transfer to home confinement applying the authorities described above and the BOP guidance
 criteria, the OIG's ODA used data from the BOP's inmate management system, SENTRY. That data
 did not allow the ODA to replicate every criterion used by the BOP to determine home
 confinement eligibility; as a result, in some instances the ODA used certain proxies. For example,
 in aRp_lying the pu _
                     blic safety criteria in the BOP gLJipance, the ODA co_nsidereq all inmates at a
 minimum or low security level as potentially eligible for home confinement, whereas the BOP
 considered certain additional public safety factors that may have limited the eligibility of some of
those inmates for home confinement consideration. Separately, in estimating the number of
inmates who were eligible for transfer to home confinement under 18 U.S.C. § 3624(c)(2) prior to
enactment of the CARES Act, the ODA included only those inmates in minimum or low security
facilities with 6 months or less remaining, although the statute applies to all inmates regardless of
the security level of the institution where they are incarcerated but limits placement into home
confinement to no more than 1O percent of an inmate's sentence. 55 Further, in determining the
number of inmates who were at high risk of severe illness from COVI D-19 and therefore were
eligible for home confinement consideration under BOP guidance, the ODA included inmates aged
65 or older only. Determinations about whether specific underlying medical conditions for
inmates under age 65 placed them in a high risk category or made them appropriate for transfer


34   The BOP'5 May 8 memorandum rescinded its April 22 memorandum .
55 18 U.S.C. § 3624(c)(2) states that "the authority under this subsection may be used to place a prisoner in home

confinement for the shorter of 1O percent of the term of imprisonment of that prisoner or 6 months. The [BOP] shall, to the
extent practi cable, place prisoners with lower risk levels and lower needs on home confinement for the maxi mum amount
of time permitted under t his paragraph."



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     were made by the institution based on a case file review, which the OIG did not undertake in
     connection with our remote inspection. 56


     Based on the available data, the ODA estimated that, as of April 12, approximately 957 of the
     1,775 inmates in Lompoc's low and minimum security facilities were potentially eligible for home
     confinement under existing authorities and BOP guidance. By comparison, as detailed above, the
     BOP Central Office included 509 Inmates in the 9 rosters it provided to FCC Lompoc for home
     confinement consideration between April 4 and May 15. 57 The table below details the ODA's
     estimated number of inmates eligible for transfer by available authority or BOP guidance factor.

                                                               Table
     OIG Estimate of the Number of Lompoc Inmates Eligible for Transfer to Home Confinement Based
                              on BOP Guidance and Available Authorities

                                                     FIRST STEP Act:
                                 18 u.s.c.                                 Post-CARE_S Act and the Attorney General's April 3
                                                    Pilot Program for
     Authority               § 3624(c)(2) Prior                                  Finding: BOP Implementing Guidance
                                                   Elderly, Nonviolent
                             to the_ CARES Act
                                                        Offenders

                                                                                                       Inmates in low and
                                                   Inmates in low
                                                                                                      minimum facilities,
                            Inmates in low and     and minimum            Inmates in low and
                                                                                                      under the age of 65, and
                            minimum facilities     facilities at least    minimum faci lities and
                                                                                                      having served at least
     Inmate Population      with a remain ing      60 years of age        at least 65 years of age
                                                                                                      50 percent of sentence
                            sentence of            and having served      (i.e., at high risk
                                                                                                      or at least 25 percent
                            6 months or less       at least two-thirds    according to the CDC)
                                                                                                      with 18 months or less
                                                   of their sentence
                                                                                                      remaining

     Number of Inmates
                                             115                     50                         84                          708
     as of April 12, 2020
Notes: Some inmates may have been eligible for transfer under multiple authorities, but the tab le counts each inmate
only once. If eligible under multiple authorities, the inmate would be counted under the first authority for which he was
eligible, moving from left to right.

Sources: 18 U.S.C.    § 3624(c)(2); 34 U.S.C. § 60541(g); CARES Act, Pub. L. No. 116-136; and OIG data analysis




56 Accord ing to t he BO P's Administrator of Reentry Services, different institutions may have different interpretations of how
severe a medical condition deemed by the CDC as high risk must be for the inmate to be considered eligible for hom e
confinement. As noted below, Health Services staff evaluated whether an inmate's medical needs cou ld still be met if the
inmate was placed into the community.
57 Our review of the BO P's 9 rosters shows that the 509 Lompoc inmates included 354 previously designate d low risk
inmates on the BOP's ~Aay 8 roster (Roster 7), vvhom Lompoc staff had to rescore using the BO P's nevv PATTER~✓ Risk Scoring
Form (rev. January 2020). According to BOP guidance, Lompoc inmates who were classified as minimum risk under the new
PATTERN Risk Scoring Form were then reassessed by the Central Office to determine their potential eligibility for home
confinement placement. As we noted above, the OIG's ODA used data from the BOP's inmate management system, SENTRY,
to assess the universe of potentially el igible Lompoc inmates. The ODA did not have data to replicate al l of the criteria that
the BOP used to determine home confinement eligibility, which included the BOP's PATTERN risk data ..


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 FCC Lom poc's Use of Home Confinement
 To facilitate institutions' implementation of the Attorney General's directives, the BOP Central
 Office created and disseminated to institutions a series of rosters applying the factors identified in
 the criteria from the BOP memoranda. FCC Lompoc received nine different rosters from the
 Central Office between April 4 irnd May 15, and BOP officials stated that multiple rosters were
 provided because each successive BOP memorandum expanded the inmate eligibility criteria.
 Lompoc's rosters identified 509 inmates who were potentially eligible for transfer to home
 confinement.


Upon receipt of each roster, FCC Lompoc's Unit Team, Health Services, and Special Investigative
Supervisor staff reviewed the case files for each inmate to assess whether the inmate should be
considered for transfer to home confinement based on the factors identified in the BO P's current
memorandum. According to a BOP Assistant Director, who served as Lompoc's acting Complex
Warden from May 6 to June 5, the BOP redirected staff at the loca l, regional, and community
confinement levels and dedicated staff full-time at the institution level to review inmates' case files
to determine their eligibility and confirm release plans. As a result, he indicated that the BOP had
reduced the duration of its no~mal release process from 2-3 months to a couple of weeks.


As part of FCC Lompoc's efforts to evaluate the rosters of inmates identified by the BOP Central
Office as potentially eligible for home confinement, institution staff conducted a public safety
determination. Lompoc's acting Deputy Case Management Coordinator told us that the Unit Team
staff assessed whether each inmate had any disqualifying public safety factors and Special
Investigative Supervisor staff determined whether the inmate had gang affiliations or otherwise
presented a risk to public safety. In addition, Health Services staff evaluated whether the inmate's
medical needs could still be met if he was placed in home confinement.


A Lompoc official told the OIG that by May 13 the institution had determined that approximately
150 inmates identified by the BOP Central Office were eligible to be transferred to home
confinement or an RRC pursuant to the criteria in the Attorney General's and BOP 1s memoranda;
however, by that date, only 9 of those inmates had been placed into home confinement or an RRC
under the CARES Act. 58 We were also told that during this time Lompoc continued to process for
transfer into an RRC or home confinement inmates who were qualified to leave prison under
authorities that existed prior to the. CARES Act and that between March 26 and May 13 Lompoc
tran sferred 25 inmates out of the institution through its routine reentry process.


Lompoc reported to the OIG that by June 24 the number of its inmates who had been placed into
home confinement or an RRC since March 26 had increased from 34 to 124. Lompoc data
indi cated t hat 38 of these inmates had been placed into home confinement \Nhile 86 of them had


58 We spoke to this official 2 days before Lompoc received its ninth and most recent roster of potentially eligible inmates,

wh ich included 16 inmates who were over the age of 65. In Jun e, this official told us that Lompoc had since determ ined that
as of June 5 at least 216 inm ates had been deemed eligible un der the Attorney General's home co nfinement directive .


                                                              35
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      been placed into an RRC; however, a Lompoc official told us that the institution could not always
      tell whether inmates placed directly into an RRC were there only temporarily before transferring
     to home confinement. 59 In June, Lompoc also reported that it had referred an additional
      14 inmates with age risk factor~to the BOP Central Office for home confinement consideration
     under the provision of the BOP;s Aprii 22 and May 8 memoranda thar-ailowed Wardens to refer
     inmates who did not meet either the 50 percent or 25 percent criteria or the public safety
     factors. 60 Documentation we reviewed indicated that the BOP had approved 1 of the 14 inmates
     for transfer to home confinement or an RRC.

  We asked the then acting Complex Warden why, as of May 13, only 34 Lompoc inmates had been
  moved out of prison, given the impact of the COVID-19 pandemic that the facility began to
  experience in late March. He explained that the institution cannot move an eligible inmate to
  home confinement or an RRC until the local RRC that will be assuming responsibility for
  monitoring the inmate, whether in home confinement or an RRC, has confirmed that it is able to
  do so. 61 He added that during the COVID-19 pandemic this has sometimes delayed releasing
  eligible inmates to home confinement or an RRC. He stated that some RRCs are short staffed,
  which presents significant challenges given the increased number of inmates throughout the
  country whom the BOP has transferred into RRC supervision at RRC facilities and in home
 confinement. 62 We learned from another Lompoc official that COVID-19 outbreaks in two RRCs
 delayed two Lompoc inmates from transferring to them. We also learned that additional factors
 affected BOP institutions' ability to move eligible inmates out of prison, including the role of the
 U.S. Probation Office in approving relocations, the need for a suitable home address, and an
 inmate's ability to receive healthcare in the community.




 59
    In comparison, we were advised that' between December 2019 and February 2020 Lompoc did not place any inmates into
 home confinement but placed 151 inmates into RRCs.

A 2016 OIG audit report found that the BOP could more strategically identify inmates suitable for placement directly into
home confinement and that the BOP had underutilized home confinement placement as an alternative to RRC placement
for transitioning low risk, low need inmates back into society despite BOP policy and guidance stating that direct home
confinement placement was preferred for such inmates. See DOJ OIG, Audit of the Federal Bureau of Prisons' Management
of Inmate Placements in Residential Reentry Centers and Home Confinement Audit Report 17-01 (November 2016),
www.oversight.ge:iv/sites/default/files/oig-reports/a1701.pdf.
60 On June 23, the BO P's Residential Reentry Services Branch Administrator told the OIG that the Home Confinement Review
Committee's records indicated that Lompoc had referred only four inmates to the committee for a home confinement
suitability review, with the first inmate being referred on June 17.
61
   Inmates transferred from a BOP institution to home confinement prior to the conclusion of their prison sentence remain
subject to BOP monitoring while under home confinement. As a general matter, the BOP contracts with RRCs to monitor
such inmates. According to the BO P's Residential Reentry Services Branch Administrator, RRC staff monitor more than 90
percent of the approximately 7,000 inmates who were placed into home confinement as of June 23.
62
   BOP officials stated that inmates were transferred to home confinement as soon as the necessary release preparation
measures were completed, including verification of the inmate's home address and confirmation with family members that
the inmate's relea se plan was viable and cou ld be fulfilled in the hom e environment.



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We asked Lompoc's then acting Complex Warden why Lompoc had determined that most of the
 509 inmates referred by the ~OP Central Office were ineligible for transfer to home confinement
or an RRC. He told us that, while Lompoc viewed the Attorney General's directives as a way to
reduce the inmate population to better facilitate social distancing within its facilities, the
institution also had a responsibility to ensure that inmates who pc:ised a risk to public safety were
not released into the community. He noted that many inmates housed in low and minimum
security facilities may appear to present minimal risk to the community based on their current
institution security level, but that some have criminal histories including violence and sex offenses
that preclude them from home confinement placement. He further explained that inmates
initially classified as high security can, over time, work their way down to low or minimum security
designations through good institutional conduct. As a result, the institution had to review the case
file for each potentially eligible inmate and could not make generalized determinations of
eligibility.

 The OIG recognizes and appreciates the importance of the public safety considerations associated
 with the potential release of a BOP inmate and the challenges that BOP officials face in
 determining whether to transfer an inmate to home confinement. These are difficult, risk-based
 decisions. However, we also note that in early April, at a time when Lompoc was facing a growing
 COVID-19 outbreak, the BOP had been given authority to expand existing release criteria and the
 Attorney General had directed the BOP to "immediately maximize appropriate transfers to home
 confinement of all appropriate inmates" at prisons, like Lompoc, "where COVID-19 is materially
 affecting operations." Despite this admonition, the data does not reflectthat the BOP took
 immediate action at Lompoc. For example, as of April 12, approximately 115 low and minimum
 security Lompoc inmates had 6 months or less remaining in their sentence. Under the law, upon
 completion of an inmate's sentence; the BOP is obligated to release the inmate from prison.
Therefore, these 115 low and minimum security inmates were going to be returning to their
communities no later than early October, many likely much sooner. Moreover, nearly all of these
inmates would have been eligible for immediate home confinement consideration under BOP
guidance and existing law. 63 While we recognize thatsome of these low and minimum security
inmates may not have been candidates of transfer to home confinement because they did not
have a residence to go to, or due to their actions while incarcerated or prior criminal histories, we
found that 87 percent (100 of 115) of these inmates remained at FCC Lompoc as of May 10, more
than a month after the Attorney General's memorandum. By June 14, 38 percent (44 of 115) of
these inmates continued to reside at Lompoc. As a result, we concluded that the BOP did not fully




                                       /

63 While 18 U.S.C. § 3524(c)(2) would normally have limited the maximurn amount of time that such inmates couid be placed
in home confinement to 1O percent of their prison sentence, the BO P's post-CARES Act guidance eliminated the 1Opercent
restriction for inmates who had 18 months or less remaining to their sentence and had already served 25 percent of their
sentence. This meant that any inmate who had less than 6 months remaining on an 8 month or longer sentence could
imm ediate ly be considered for home confinement. Accordi ng to the BOP, approximately 98 percent of defendants
sentenced to a term of impri so nment have received a sentence of at least 1 year.


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      leverage its expanded authorities under the CARES Act and the Attorney General's memoranda to
      promptly transfer Lompoc inmates to home confinement. 64


      Compassionate Release
     Another means by which inmates can be moved from prison to home is through a reduction to
     their sentence pursuant to the compassionate release statute, 18 U.S.C. § 3582(c)(1 )(A)(i). 65 Under
     the statute, either the BOP or an inmate may request that a federal judge reduce the inmate's
     sentence for "extraordinary and compelling reasons," such as age, terminal illness, other physical
     or medical conditions, or family circumstances. An inmate must first submit a compassionate
     release request to the BOP, but the inmate is permitted to file a motion directly with the court if
     the BOP denies the petition, or 30 days after the inmate files the petition with the BOP, whichever
     occurs first.


 We were told that the BOP prioritized using the home confinement authorities described above,
 rather than the compassionate release statute, to respond to the COVID-19 pandemic because
 those authorities allowed the BOP to approve inmates for release whereas compassionate release
 requires the approval of a federal judge. Officials in the BO P's Office of General Counsel told us
 that the COVID-19 pandemic has not changed the BO P's eligibility requirements for
 compassionate release. Additionally, the Department has taken the position, in legal guidance
 when responding to compassionate release motions filed by inmates with courts, that the risk of
 COVID-19 by itself is not an "extraordinary and compelling" circumstance that should result in the
 grant of a compassionate release request. 66 Thus, COVID-19 would not cause the BOP to support
 a petition for compassionate release
                                \
                                       that it would not have supported otherwise.
                                                  .




 64
    As noted previously, a class action lawsuit on behalf of Lompoc inmates was filed in May 2020 in the U.S. District Court for
 the Central District of California concerning the BO P's response to the COVID-19 pandemic at FCC Lompoc. On July 14, a U.S.
 District Court Judge approved a provisional class certification for Lompoc inmates over the age of 50 or with underlying
 health conditions. The Judge's order states that "the evidence before the court demonstrates meaningful social distancing is
not possible at Lompoc absent a reduction in the inmate population," and that "there is no evidence [BOP officials] are
prioritizing their use of statutory authority under the CARES Act to grant home confinement to Lompoc inmates in light of
the pandemic, or giving due consideration to inmates' age or medical conditions in evaluating eligibility of home
confinement." The Judge ordered the BOP to, among other things, "make full and speedy use of the BOP's authority under
the CARES Act and evaluate each class member's eligibility for home confinement." See Torres et al.: Plaintiff-Petitioners, v.
M11usnic et al.: Defendant-Resoondenti5, Case 2:20-cv-04450-CBM-PVC, July 14, 2020, www.prisonlaw.com/wp-
content/uploads/2020/07/Lompoc-Order-re-Pl-and-Class-Cert.pdf (accessed July 22, 2020).
65  For more information about how the BOP manages its compassionate release program, see BOP Program
Statement 5050.50, Compassionat~ Release/Reduction in Sentence: Procedures for Implementat ion of 18 U.S.C. §§ 3582
and 4205(g), January 17, 2019. In 2013, the OIG issued a report examining the BO P's compassionate release program . The
OIG found, at that time, that the program had been poorly managed and inconsistently implemented. See DOJ OIG, The
Federal Bureau of Prisons' Compassionate Release ProK(am, E&I Report 1-2013-006 (April 2013), www.oversight.gov/
sites/default/files/ oig-reports/e 1306.pdf.
66
      Executive Office for United States Attorneys, "Compassionate Release Lit igation Guidance," May 18, 2020.



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 As a result of the COVID-19 pandemic, FCC Lompoc reported that the institution has processed
·about 20 times the typical volume of compassionate release petitions from Lompoc inmates, from
 usually about 10 applications a month to 201 applications in Ap\il 2020 alone. A Lompoc official
 told us that the vast majority of inmates who applied for compassionate release during the
 COVID-19 pandemic did riot appear to be eligible under the program's criteria. On May 27,
 Lompoc reported that 9 out of approximately 387 inmates who had applied for compassionate
 release since March 1 had been released and that by June 5 the BOP had agreed to file motions
 with the court for the compassionate release of 3 additional inmates.

To provide more insight into these issues; the OIG is reviewing and will report separately on the
Department's and the BO P's l,L$e of early release authorities, especially home confinement, to
manage the spread of COVID-19 within BOP facilities.
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                                                                                                                                                      APPENDIX 1

              SCOPE AND METHODOLOGY OF THE INSPECTION

 The OIG conducted this insp ection in accordance with the Council of the Inspectors General on
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                                                                                                               ' '   /IL.I   vv
                                                                                                                             L-VCIIU   LIV/I\)   II   VIL),


 conducted this inspection remotely because of CDC guidelines and DOJ policy on social distancing.
 This inspection included telephone interviews with Lompoc officials, review of documents produced
 by the BOP related to the BO P's and Lompoc's management of the COVID-19 pandemic, the results
 of an OIG survey issued to all BOP staff, and analysis of publicly available BOP and COVID-19 data.
 We also considered a complaint we received from a union official at FCC Lompoc and complaints
 reported to the OIG Hotline. The photographs included in the report were taken by Lompoc
 officials for the purpose of providing the Office of the Attorney General with information about
 Lompoc's response to COVID-19 and at the OIG's request for this inspection.


To understand staff concerns, impacts, and immediate needs related to COVID-19, we issued an
anonymous electronic survey to all BOP government employees from April 21 through April 29,
2020. We invited these 38,651 employees to take the survey and received 10,735 responses, a
28 percent response rate. Institution staff represented 9,932 of the 10,735 responses
(93 percent). We received 126 survey responses from Lompoc personnel, representing 30 percent
of staff assigned to the institution.

We conducted telephone interviews with BOP and local union officials, a Chief Executive of the
Lompoc Valley Medical Center, and the FCC Lompoc Case Management Coordinator, Clinical
Director, Deputy Case Management Coordinator/Case Manager, Unit Manager, and three
Lieutenants. We also conducted a group telephone interview with 11 FCC Lompoc, BOP regional,
and Central Office officials. We did not interview inmates as part of our remote inspection of FCC
Lompoc.

The main issues we assessed through our interviews and data requests were the institution's
compliance with BOP directives and CDC guidance related to PPE; COVID-19 testing; medical
response and capability; social distancing, quarantine, sanitation, supplies, and cleaning
procedures; and conditions of confinement. We also assessed actions taken to reduce the inmate
population through implementation of relevant authorities.

We reviewed CDC guidelines and BOP-wide guidance and procedures, as well as the FCC Lompoc
Fit Test Staff Roster, Community Relations Board information, media statements, .documentation
of staff COVID-19 screenings, PPE guidance and inventory, Quarantine Checklist, and 'i nformation
and guidance provided to staff.
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                                                                                                               APPENDIX2

        OIG COVID-19 SURVEY RESULTS FOR FCC LOMPO C

        Open Period:                      Invitations Sent:             Overall Responses:                Lompoc Responses:
      April 21-29, 2020                          38,651                 10,735 (of38,716)                    126(of416)

                                    • ••    ••    ••
                                                                                              .   .   .    ....     ..   a-=   .... '




Which of the following are immediate needs for your institution during the COVID-19 pandemic? (Top 5 Responses)

   111B Lompoc (N=109)                                                                                                            70%
                                                          More PPE for staff
       - BOP-wide (N=8, 153)
                                            Additional staff to cover posts                                                       70%
                               More personal hygiene supplies for staff                                             55%
                                      More space to quarantine inmates                                            50%
                                                       More PPE for inmates                                   46%


Note: Personal hygiene supplies are defined as soap and hand sanitizer.


 Which of the following statements best describes the            How strongly do you agree with the following statements
 current guidance you have received from facility                about the adequacy of the guidance you have received
 leadership about what you should do if you have been            about what you should do If you have been exposed to
 exposed to COVI D-19? (Top 2 Responses)                         COVI D-19? (All Responses)

      Ill Lompoc (N=117) ~ f:lOP-wic:le (N=9,163)               · Respondents rated each item on a 5-point scale, with
                                                                , "strongly disagree " worth 1 poTnfanc! "strongly agree"
  I have been advised that I                                    • ,worth 5 points. 'Von 't know" responses are excluded.
  should continue to report                        53%
                                                                                                  Lompoc
       to work unless I
                                                                                                   Rating
    experience symptoms.
                                                                . The guidance was timely.                   2.45
                                                                                   ----
      I have been given
                                                                  The guidance was clear.                    2.46

   conflicting guidance on     ••         23%                   , The guidance was
  what I should do if I have                                      comprehensive .
  been exposed to COVID-            19%
              19.




                                                                41
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     How strongly do you agree with the following statements about the adequacy of the practices your institution Is taking
     to mitigate the risk of spreading COVID-19? (Top 3 and Bottom 3 Responses)

                                                                                                                Lompoc BOP-wide
     . Respondents rated each item on a 5-point scale, with ''strongly disagree" worth 1 point and
                                                                                                              . Rating __ Rating _
       ''strongly agree-''-worth-5 points.. "Don 't know"responses are-excluded. --
                                                                                                                (N=113) . (N=S,978)

      Three Practices Rated Highest:
     ; Staff are given sufficient Information about COVID-19 symptoms and preventive actions
                                                                                                                   3.86 '        4.09
     ; (hand washing, wearing masks).
                            -   .   ---··--·---·--- ··---   -··   .       -   -    -··-·       -
     · Inmates diagnosed with, or showing symptoms of, COVID-19 are being sufficiently
                                                                                                                   3.75          3.94
     : segregated from other Inmates to mitigate the virus spreading.
                                                                                  --- -- -~-       - - - - ~ - - -~ - -
 . Inmates are given sufficient Information about COVID-19 symptoms; preventive actions (e.g.,
                                                                                                                   3.58          4.10
 : hand washing, wearing masks); and changes to their dally routines.

      Three Practices Rated Lowest:
 i Inmates are provided with a sufficient supply of masks.
 ; Staff are provided a sufficient supply of masks.
 i   Inmates are provided .a sufficient supply of hand sanitizer where sinks are not avallable.
                                                                                                             --    2.90 :
                                                                                                                   2.67 :

                                                                                                                   2.48 .
                                                                                                                                 3.44 ,

                                                                                                                                 3.13 .

                                                                                                                                 3.07


 Please identify which, If any, of the following social distancing measures your institution Is currently employing to
 increase the amount of space between staff and Inmates. (Top 5 Responses)
                                                                                                         Lompoc         BOP-wide
                                                                                                        Percent of      Percent of
                                                                                                       Respondents     Respondents
                                                                                                       -- -cN=104r - - - (N=S;-435)

     The amount of time that inmates are required to remain in their housing units each
                                                                                                               51%              59%
     day has been increased.




 Daily schedules are adjusted so that oniy one housing unit at a time is allowed to
 enter common space (such as t_ he inmate cafeteria, Health Services dinic, library,
 classrooms, chapel, work space, or recreation space}.

  Note: The majority of Lompoc respondents who answered "Other" reported that the lockdown implemented on
I April 20 was the institution's main social distancing strategy.
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Which of the following statements best describes the current guidance you have received from facility leadership about
your use of personal protective equipment (PPE)? (Top 2 Responses)


  11 Lompoc      The institution provides you with a limited amount of PPE
    (N=117)                              each week.                            6496

  ~ BOP-wide The institution provides you with a limited amount of PPE                                    28%
    (N=9, 166)                           each shift.                          1~ 96


 Which of the following statements best describes the       Please identify which, if any, of the following COVID-19
 current approach to COVI D-19 screening of existing        measures for screening incoming and departing inmates
 inmates (temperature check, questioning about other        (temperature check, questioning about other symptoms)
 symptoms) at your institution? (Top Response)              your institution is currently taking. (Top 3 Responses)


                   4396
                                                             All incoming inmates are
                                                             quarantined for 14 days
                                                               before they enter the
                                                                general population.
                                 1996
                                                               All incoming inmates
                                                             who are quarantined are
                                                             housed sepa rately from                            41%
     All inmates are screened for symptoms at
                                                              inmates being isolated
                  least once a day.
                                                             due to possible contact
     mLompoc (N=108)       ~   BOP-wide (N=S,731)                  with COVID-19.


   Note: Thirty-six percent of respondents chose                 All departing inmates           -              38%
   ''l don't know." The remaining chose                          are screened before
   categories amounting to less than 9 percent                  leaving the institution.             399fi .
   each.

                                                                   11   Lompoc (N=109)     m-J   BOP-wide (N=S,729)
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                                        .
Please Identify which, if any, of the following measures your institution Is currently employing to manage inmates with
COVID-19 symptoms. (Top 3 Responses)



 Symptomatic inmates are placed in medical isolation.                                                                     84%



            Symptomatic inmates are provided masks.                                                 49%
                                                                 38%

     The movements of inmates outside their medical                                            43%           11 Lompoc (N"'104)
     isolation area are kept to an absolute minimum.           ..,3
                                                                  ,,,,,8""'%
                                                                           .,.-_ _......,_~~
                                                                                                            ~   BOP-wide (N=B,386)


Please Identify which, If any, of the following strategies          Please identify which, if any, of the following strategies
your Institution Is currently employing to facilitate      ·        your Institution Is currently employing to facilitate
Inmates' ability to communicate with family and friends            Inmates' ability to communicate with legal counsel.
outside the Institution with whom they would normally              (Top 4 Responses)
Interact. (Top 3 Responses)


      II Lompoc (N,,,102)   il@   BOP-wide (N=8,339)                          a Lompoc (N=102)        fili BOP-wide (N=B,314)


  The institution has
  decreased inmates'                                                                                                     60%
                                                                                    I don't know.
ability to communicate ·
                                            46%
with family and friends
outside the institution
 by limiting access to
                                                                         Inmates have access
    telephones and
                                                                        to their counsel when
 TRULINCS terminals.
                                                                          requested, through
                                                                          institution phones.

    Each inmate is
                                      26%                                  Each inmate is
  provided additional
 TRULINCS minutes at
                                                                         provided additional         I      11 %

        no cost.
                                                                        TRULINCS minutes at          .is% .
                                                                               no cost.



                                                                                                    1 ,,
                         •
                                                                             Each inmate is                   %
                                                                          provided additional
                                                                          stamps at no cost.         t 3%
     Each inmate is                 22%
   provided additional
   stamps at no cost.       4%


  Note: TRULINCS is the BOP's email system for
  inmates.




                                                           ·4 4
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                                                                                                                                           APPENDIX3

                                   TIMELINE OF BOP GUIDANCE




 -II




 -IJ-       The first two BOP staff were presumed posjtive for COVJD-19.
 _fi __ --Th,.e"":BO=!P~is"'"'s,,_....,..,.
                                 ued gu    --;i"'a,...,
                                                  anc             .....~
                                                       _....e...ri!'-  m~-
                                                                         irtti""
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                                                                                 i~ ...,....,
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                                                                                                    'i e--.,-~.-.,...,.,.~~.....,.....,......__..,_,_ _~ - - - -

 -fl- ·ThefirstBOPrnmatetestedoosiuveforCOVID-19. · · · -
                                    -             -,            -   ..,_   s.          -   ~'
                                                                                                    1
                                                                                                    -
                                                                                                                 .                     •                     ·:
                                                                                                                                                             - •




 -m-       The CDC issued Interim Guidance on ManagementofCoronavirus Disease2Q19 (COV!D-19) in G:orrectional
           ancf Detention Facilities.




                                                                                ·4 5
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   -11-
  -IJ-
          ............-.........-.."-----------"'"""---"""---'""""--=---......----........_-_..__.....,_________   liM;fi




  -Bl-




Source: OIG analysis of documents provided by the BOP



                                                       346
